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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as the personal representative      CASE NO.: 9:18-cv-80176-BB
  of the Estate of David Kleiman, and W&K Info
  Defense Research, LLC                            SECOND AMENDED COMPLAINT AND
                                                   JURY DEMAND
        Plaintiffs,

  v.

  CRAIG WRIGHT

        Defendant.


  Velvel (Devin) Freedman                        Kyle Roche (admitted pro hac vice)
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                                    SECOND AMENDED COMPLAINT

          Plaintiff Ira Kleiman, as personal representative of David Kleiman’s estate (“Ira”), and

  Plaintiff W&K Info Defense Research, LLC (“W&K”) hereby sue Defendant Craig Steven Wright

  (“Craig”) and state as follows:

                                                  PARTIES

        1.        Plaintiff Ira Kleiman, as personal representative, is a resident of Palm Beach

  County, Florida. He is David Kleiman’s (“Dave”) brother and the personal representative of his

  estate (“the estate”).

        2.        Plaintiff W&K Info Defense Research, LLC is a Florida limited liability company

  incorporated in 2011. During the times relevant to this Second Amended Complaint, W&K

  operated in Florida. This entity is one vehicle through which Defendant and Dave mined hundreds

  of thousands of bitcoins and created valuable blockchain intellectual property.

        3.        Defendant Craig Steven Wright is a resident of London, United Kingdom. He is

  Dave’s former business partner in W&K and otherwise.

                                      JURISDICTION AND VENUE

        4.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1332 as the parties are completely diverse in citizenship and the amount in controversy exceeds

  $75,000; this Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 and 18 U.S.C. § 1836(c) because Plaintiffs’ Defense of Trade Secrets Act claim arises under

  the laws of the United States.

        5.        Venue lies within this District under 28 U.S.C. § 1391(b) because a substantial part

  of the events giving rise to these claims occurred in this District. These events include, but are not

  limited to: the wrongful taking of property belonging to a Florida estate and/or LLC within this

  District; the partnership of Dave and Craig within this District; the operation of W&K by Dave

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  and Craig within this District; the mining of a substantial amount of bitcoins through the use of

  computer equipment located within this District and/or by equipment owned and/or operated by a

  Florida resident (Dave) or Florida LLC (W&K); the development of certain blockchain related

  intellectual property within this District; and the commission of a fraud against an estate in this

  District.

        6.       This Court has personal jurisdiction over Craig pursuant to Fla. Stat. § 48.193 as he

  operated, conducted, engaged in, and carried on a business venture in this state; committed tortious

  acts within this state; and caused injury to persons and property within this state at or about the

  time he was engaged in solicitation and service activities within this state.

                                          INTRODUCTION

        7.       This matter concerns the rightful ownership of hundreds of thousands of bitcoins1

  and the valuable intellectual property rights of various blockchain technologies. As of the date of

  the Amended Complaint filing, the value of these assets far exceed $11,427,755,048.02 USD

  (before punitive or treble damages); at their highest value they were worth over

  $27,332,125,781.93. Plaintiffs allege Defendant has stolen these bitcoins and intellectual property

  assets from them.

        8.       After Ira filed this claim, Craig committed a fraud on this Court in an attempt to

  circumvent its jurisdiction. As detailed in paragraphs 160 to 170 Craig filed a sworn declaration

  that is incontrovertibly false based on an affidavit (and supporting evidence) he previously

  submitted to an Australian court. The boldfaced misrepresentations Craig has told this Court

  demonstrate his desperation to avoid this suit.


  1
    The term “bitcoin” can refer to both a computer protocol and a unit of exchange. Accepted
  practice is to use the term “Bitcoin” to label the protocol, software, and community, and the term
  “bitcoin” to label the units of exchange.

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        9.         Bitcoin is the world’s first decentralized cryptocurrency.         The concept and

  technology behind Bitcoin was first published in October 2008 when its pseudonymous creator,

  Satoshi Nakamoto, sent the now famous protocol to a mailing list of cryptography enthusiasts.

  That protocol has since spawned a system of value and exchange with a current market cap of

  ~$150 billion.

        10.        Based on information Ira Kleiman received directly from Dave, it is undeniable that

  Craig and Dave were involved in Bitcoin from its inception and, together, had accumulated a vast

  wealth of bitcoins from 2009 through 2013.

        11.        On April 26, 2013, mere months prior to Bitcoin’s entry into the mainstream, Dave

  died after a battle with MRSA.

        12.        Recognizing Dave’s family and friends weren’t aware of the extent of Dave’s

  Bitcoin and blockchain related activities, Craig perpetrated a scheme against Plaintiffs to seize

  their bitcoins and their rights to certain blockchain related intellectual property.

        13.        As part of this plan, Craig took control of Plaintiffs’ bitcoins and forged a series of

  contracts that purported to transfer Plaintiffs’ bitcoins and intellectual property assets to Craig

  and/or companies controlled by him. Craig backdated these contracts and forged Dave’s signature

  on them.

        14.        About a year after Dave’s death, and under pressure from an Australian Tax Office

  investigation, Craig reached out to Ira, Dave’s brother. Craig disclosed he had partnered with

  Dave to create Bitcoin, mine bitcoin, and create valuable intellectual property. But, he claimed

  Dave signed all these property rights away in exchange for a non-controlling share of a non-

  operational Australian company worth “millions.”




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          15.      Craig told Ira he’d be able to sell Dave’s stake in the company in a few months.

  This was a lie in several respects. First, Dave had not in fact traded his bitcoin and intellectual

  property rights for an interest in the Australian company. Second, the company went bankrupt

  shortly after Craig misled the Australian Tax Office (“ATO”).

          16.      The ATO raided Craig’s home in late 2015 and Craig fled Australia for London.

  Since fleeing to London, Craig has lived a life of fame and fortune. In May 2016, he publicly

  revealed himself and Dave as the alleged creators of Bitcoin.

          17.      Craig currently serves as Chief Scientist of nChain, a UK company purporting to

  be the global leader in research and development of blockchain technologies. He also regularly

  posts pictures to his social media accounts of his lavish lifestyle.

          18.      To date, Craig has not returned any of the mined bitcoins or intellectual property

  rights belonging to Plaintiffs. This action is brought to rectify that injustice.

          19.      As described in detail below, Craig’s pattern of lies, deception, and fraudulent

  conduct continues even against this Court. His fraud on this Court is simply the latest step taken

  in Florida to defraud the estate and W&K.

                                        FACTUAL ALLEGATIONS

                                                    Bitcoin

          20.      Bitcoin is a decentralized digital currency with a current market cap of ~$150

  billion as of March 14, 2018.2 At its core, Bitcoin is simply a giant ledger that tracks the ownership

  and transfer of every bitcoin in existence. This ledger is called the bitcoin blockchain.

          21.      In order to transact with bitcoins, you must have a bitcoin wallet. Like a bank

  account number, each bitcoin wallet has a “public key” that is the “address” provided if one would


  2
      https://coinmarketcap.com/.

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  like to receive bitcoin from others. Every wallet can be identified on the blockchain (by referring

  to its “public key”) along with the number of bitcoins inside that particular wallet. Wallets are

  separate computer files dedicated to storing information about specific bitcoins.

        22.       Each wallet is also assigned a “private key.” Unlike public keys, private keys are

  only known by the individual who creates the bitcoin wallet. The private key is like the “password”

  to the wallet. To send bitcoin out of a wallet, an individual must have the private key associated

  with the bitcoin wallet. This is similar to the manner in which one must have a PIN to withdraw

  cash from an ATM.

        23.       There are two methods of acquiring bitcoins. The first involves simply receiving

  bitcoins from someone. In fact, there are many businesses that operate “bitcoin exchanges,” such

  as coinbase.com, which is a bitcoin marketplace where individuals can purchase bitcoins with their

  native currency from individuals looking to sell.

        24.       The second way one can acquire bitcoins is by “mining” them.

        25.       There is no centralized authority that curates the Bitcoin blockchain. Consequently,

  the protocol has to incentivize individuals to curate the blockchain, i.e., to update the “ledger” with

  new transactions as they take place. This process is called “bitcoin mining.”

        26.       Anyone with internet access can “mine bitcoins” by employing computer power to

  solve a complex mathematical problem. The first “miner” who solves the problem gets the right

  to add a block of recent transactions to the blockchain, i.e., the right to update the ledger. In return

  for this work, the protocol pays the successful miner in newly minted bitcoins (the number of

  which is fixed by a pre-existing algorithm). This process is repeated every 10 minutes or so,

  ensuring an accurate and up to date record of all bitcoin transactions.




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        27.      When the Bitcoin protocol was first launched in January 2009, the protocol paid

  the successful miner 50 bitcoins for each block of transactions added to the blockchain ledger. The

  protocol cuts this mining reward in half every four years so that the maximum amount of bitcoin

  in existence will never exceed 21 million. At the current mining rate and reward algorithm, this

  maximum circulation will be reached in circa 2140.

        28.      Today, the mining reward is 12.5 bitcoins for each block added to the blockchain.

  That, together with rising competition in mining bitcoins means it was easier to amass significant

  amounts of bitcoins in 2009, than now.

        29.      To date, just over 17 million of the total 21 million bitcoins have been mined.

                                           History of Bitcoin

        30.      On October 31, 2008, a white paper authored under the pseudonymous name

  Satoshi Nakamoto (“Satoshi”) titled Bitcoin: A Peer-to-Peer Electronic Cash System was posted

  to a mailing list of cryptography enthusiasts. This paper detailed novel methods of using a peer-

  to-peer network to generate what it described as “a system for electronic transactions without

  relying on trust.”

        31.      Less than three months later, the system outlined became a reality. On January 3,

  2009, Satoshi mined the first 50 bitcoins. To place a timestamp on the occasion, Satoshi left a text

  message digitally encoded on these first 50 bitcoins that read, “The Times 3 January 2009

  Chancellor on brink of second bailout for banks,” referring to that day’s headline in the British

  newspaper, The Times.

        32.      Hal Finney, one of the first supporters and adopters of Bitcoin, downloaded the

  bitcoin software that same day, and received 10 bitcoins from Satoshi in the world’s first bitcoin

  transaction.



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       33.       Satoshi also created a website under the domain name bitcoin.org and continued to

  collaborate with other developers on the Bitcoin protocol until mid-2010. Around this time, he

  handed control of the Bitcoin source code repository to Gavin Andresen, another active member

  of the bitcoin development community, and disappeared. The last confirmed email from Satoshi

  was sent on April 23, 2011. It read, “I’ve moved on to other things. It’s in good hands with Gavin

  and everyone.”

       34.       For most of its early history, bitcoins were of relatively little value. Famously, the

  first documented commercial bitcoin transaction occurred when developer Laszlo Hanyecz used

  10,000 bitcoins to purchase two Domino’s pizzas on May 22, 2010. At today’s prices, those two

  pizzas would be worth approximately 1% of Domino’s total market cap.

       35.       During Bitcoin’s early history, cryptocurrencies were a niche technology with a

  small development community. Consequently, there was little competition for maintaining the

  ledger or “mining bitcoins.” Thus, individuals mining bitcoins through 2013 could expend

  relatively minor resources to accumulate large sums of bitcoins.

       36.       It has been widely reported that Satoshi Nakamoto mined approximately 1 million

  bitcoins during this time.3

                                           Bitcoin “forks”

       37.       Since its inception in 2009, Bitcoin has inspired the creation of over one thousand

  other digital currencies. Many of these new cryptocurrencies use characteristics of the initial

  Bitcoin program, but have made significant changes to the original model in an attempt to create




  3
          See       e.g.    http://time.com/money/5002378/bitcoin-creator-nakamoto-billionaire/;
  http://www.businessinsider.com/satoshi-nakamoto-owns-one-million-bitcoin-700-price-2016-6;
  https://eklitzke.org/how-many-bitcoins-did-satoshi-nakamoto-mine.

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  an entirely new cryptocurrency with distinct functions or ones better suited to a specific market

  niche.

        38.      In other cases, individuals have taken the actual Bitcoin protocol and modified it in

  a way they believed would improve Bitcoin itself, e.g., by allowing more transactions into a single

  “block” of the blockchain.

        39.      If the “improved” Bitcoin protocol garners significant support, but less than a

  majority of support, a new version of “Bitcoin” is created. In these situations, the supporters of the

  new Bitcoin, have created a “fork” through which the original Bitcoin blockchain/ledger is divided

  into two distinct, but identical, copies, (i) the original Bitcoin, and (ii) the new Bitcoin. The result

  is that any individual who owned the original Bitcoin, now owns an identical amount of the new

  Bitcoin. After the point of the “fork,” the ledgers will diverge as owners “spend” the two assets

  differently.

        40.      This has happened numerous times to Bitocin. To date, however, the original

  Bitcoin protocol remains the most valuable in terms of its correlation to the US dollar, with a

  market capitalization of ~$150 billion at the time of filing. However, other noteworthy Bitcoin

  forks include Bitcoin Cash (market cap. of ~$25 billion), Bitcoin Gold (market cap. of ~$1.0

  billion), Bitcoin Private (market cap of ~$510 million), and Bitcoin Diamond (market cap. of

  ~$650 million).

        41.      As explained below, the bitcoins at the heart of this dispute were all mined prior to

  the creation of any of the aforementioned Bitcoin forks. Consequentially, Plaintiffs’ claims of




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  ownership over these original bitcoins necessarily implicates ownership over their “forked”

  counterparts (“forked assets”).4

                            Background on parties and key individuals

       42.       Dave Kleiman was born in 1967. Obsessed with computers and technology at an

  early age, he joined the U.S. Army in 1986 as a helicopter technician.

       43.       A few years after being honorably discharged, Dave got into a serious motorcycle

  accident which left him physically handicapped and wheelchair-bound. After this accident, Dave’s

  interest in computers intensified, and he began to build a reputation in computer forensics and

  secure network infrastructures.

       44.       Dave began working in the information technology security sector in 1990. He was

  a frequent speaker at national security conferences and was a regular contributor for many security

  related newsletters, websites, and online forums.

       45.       Dave was a member of several computer security organizations, including the

  International Association of Counter Terrorism and Security Professionals (IACSP), International

  Society of Forensic Computer Examiners (ISFCE), Information Systems Audit and Control

  Association (ISACA), High Technology Crime Investigation Association (HTCIA), Network and

  Systems Professionals Association (NaSPA), Association of Certified Fraud Examiners (ACFE),

  Anti-Terrorism Accreditation Board (ATAB), and ASIS International.

       46.       Dave was also a Secure Member and Sector Chief for Information Technology at

  the FBI’s InfraGard and a Member and Director of Education at the International Information

  Systems Forensics Association (IISFA). When he attended conferences, he was known as “Dave



  4
    Consequently, where appropriate, the word “bitcoins” should be construed to include claims over
  the “forked assets” as well.

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  Mississippi,” a nickname referring to the long string of three letter certificates that followed his

  name; which could literally be used to spell Mississippi.

         47.      Dave co-authored and was the technical editor of numerous publications, including

  Perfect Passwords: Selection, Protection and Authentication,5 and Security Log Management:

  Identifying Patterns in the Chaos.6

         48.      In 2010, Dave was hospitalized. He was in and out of medical facilities due to

  MRSA infected sores. On March 22, 2013, Dave signed out of the hospital against medical advice.

  He was unstable and nearing death.7 On April 26, 2013, Dave passed away.

         49.      Ira is Dave’s brother and the personal representative of his estate.

         50.      Craig is a 46-year-old Australian computer scientist and businessman. Craig began

  his career in information technology working for various entities in Australia, including the

  Australian Securities Exchange.       Craig claims to have many degrees, including doctorates,

  masters, and technical certifications; these claims are disputed.8

         51.      In May 2016, Craig claimed that he and Dave were Satoshi Nakamoto—the

  venerated creator of Bitcoin.




  5
  https://www.amazon.com/Perfect-Passwords-Selection-Protection-
  Authentication/dp/1597490415.
  6
      https://www.amazon.com/Security-Log-Management-Identifying-Patterns/dp/1597490423.
  7
      https://gizmodo.com/the-strange-life-and-death-of-dave-kleiman-a-computer-1747092460.
  8
     https://www.forbes.com/sites/thomasbrewster/2015/12/11/bitcoin-creator-satoshi-craig-wright-
  lies-hoax/#12e524116794.

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                                   Dave and Craig’s early relationship

          52.       Dave and Craig met in or around 2003. Both men had a longtime interest in cyber

  security and digital forensics, and the future of money. (Ex. 1 at 26).9

          53.       For years, they communicated on various topics related to the internet and file

  sharing. For example, in 2008 they co-authored a paper on the mechanics of overwriting hard

  drive data.10

          54.       Around that time, they began to speak about ways to use peer-to-peer file sharing,

  infamously used by the Napster music sharing service, to solve some of the most difficult issues

  in cryptography. (Ex. 1 at 27).

          55.       In March 2008, just a few months before Satoshi’s paper on the Bitcoin protocol

  was published, Craig emailed Dave saying: “I need your help editing a paper I am going to release

  later this year. I have been working on a new form of electronic money. Bit cash, Bitcoin . . . [y]ou

  are always there for me Dave. I want you to be part of it all.” (Ex. 32).11

          56.       After leaving his job in late 2008, Craig wrote to Dave: “I need your help. You

  edited my paper and now I need to have you aid me build this idea.” (Ex. 1 at 31). For the next

  few months, Craig and Dave worked to get Bitcoin operational.

          57.       On January 12, 2009, Craig, Dave, and two others sent each other bitcoin

  transactions recorded on the blockchain. (Ex. 1 at 32).

          58.       On November 26, 2009 (Thanksgiving Day), Ira Kleiman and Dave met at their

  father’s home for an early dinner. He and Dave discussed Facebook’s recent success and Ira asked




  9
      All Exhibit citations refer to the as filed ECF pagination.
  10
       https://www.vidarholen.net/~vidar/overwriting_hard_drive_data.pdf.
  11
       Craig sent a “copy” of this communication to Ira on March 6, 2014.
                                                     12
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  Dave if he was working on anything interesting. Dave responded by telling Ira he was working

  on “something bigger” than Facebook, that he was “creating his own money.”

        59.      Ira asked Dave to clarify and jokingly asked if Dave was making counterfeit money.

        60.      Dave responded by saying he was making “digital money.” He then opened his

  wallet, took out a business card, flipped it over, drew a “B” with a line or two through it, and

  commented on how “we” were working on a logo.

        61.      Dave told Ira he was working with a relatively wealthy foreign man who owned

  some properties. Ira asked Dave why he didn’t partner with this wealthy individual. Dave was

  silent, which Ira understood to be Dave’s concession they were already partners.

        62.      On May 20, 2014, Ira shared this story with Craig via email. (Ex. 2).

        63.      Craig responded that same day stating “we did partner ;)”. (Id.). Craig then

  commented on the “properties” stating, inter alia, that he owned 550 acres. (Id.). He then said, “I

  will have to see what I can dig up. The old Bitcoin logo we did is no longer used. I have a copy.”

  (Id.). Craig later provided Ira with a copy of this Bitcoin logo. (Id.).

        64.      This independent verification that Dave was creating “digital money” with Craig in

  2009, Craig’s admissions that he and Dave were “partners” in this venture, part of the Satoshi

  team, and that they were mining bitcoin through W&K, all lead to the inescapable conclusion that

  their collaboration in “creating” or “mining” bitcoin and intellectual property was continuous from

  2009 until Dave’s passing in 2013.

        65.      From their collaboration in 2008 until Dave’s death in 2013, Craig and Dave mined

  over a million of the initial bitcoins together (personally and through W&K). These bitcoins were,

  as all bitcoin are, stored in specifically identifiable bitcoin wallets that Craig has now asserted

  ownership over.



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       66.       Further, Dave, in partnership with Craig, created intellectual property both in his

  individual capacity and through W&K. As Craig email to Ira on March 7, 2014, “I had an idea,

  but it would never have executed without Dave.” The estate and/or W&K owns all this intellectual

  property.12

   Dave and Craig created W&K to mine bitcoin and develop blockchain related intellectual
                                       property

       67.       The exact structure of their joint mining activities, intellectual property

  development, and “partnership” from c. 2008 until February 2011 requires discovery to fully

  reveal.

       68.       From February 2011, Craig and Dave conducted their bitcoin mining activities and

  intellectual property research and development through W&K.

       69.       On February 14, 2011, Dave formed W&K Info Defense Research LLC (“W&K”)

  in Florida. The Articles of Incorporation for W&K list Dave as the managing member and

  registered agent. (Ex. 3).

       70.       W&K has no operating agreement and its exact ownership structure is unclear due

  to Craig’s contradictory statements. In an affidavit Craig filed in Australian court proceedings,

  Craig stated he and Dave each owned 50% of W&K. (Ex. 4 at 5). But in a fake “contract”

  produced by Craig, he states Dave owned legal title to 100% of W&K, while holding 50% in trust

  for Craig. (Ex. 5 at 3). He doubled down on some form of this equal split in a 2014 email to Ira,




  12
    The exact division of intellectual property ownership between Dave’s estate and/or W&K will
  be determined at trial. Accordingly, some counts contain a request for relief from both Plaintiffs,
  and it will be for the final finder of fact to determine what each Plaintiff is entitled to recover.

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  where he represented that “Dave owned 50% of” W&K. (Ex. 6 at 2),13 and when both he and his

  counsel referred to it as a “joint venture.” (Ex. 4 at 50, 57, 64, 71, 77, 84; Ex. 9 at 6). In contrast,

  Craig has testified to this Court that he does not have, and never has had, any interest in W&K.14

  (Ex. 29 ¶ 10). But it makes sense Craig would have some form of indirect interest as the entity

  appeared to be named after them both: Wright & Kleiman.

        71.       As best as can presently be discerned, Dave was the sole “member” of W&K, but

  Craig maintained some kind of beneficial ownership interest in W&K, which he subsequently

  disclaimed.

        72.       Regardless of its exact ownership structure, the purpose of W&K was clear: Craig

  and Dave created it to mine bitcoin and develop intellectual property.

        73.       First, on telephone conversations with Ira, Craig admitted this was W&K’s

  purpose.

        74.       Second, Craig has admitted this in writing multiple times. For example, in a

  “chronology” Craig sent to Ira, he wrote that that W&K “was set up to further statistical and risk

  mitigating algorithms, to develop some ideas around CBT learning methodologies, and to mine

  Bitcoin.” (Ex. 7). Craig also put this admission into legal documents he claims are valid stating

  that W&K “is the owner of and conducts the business known as Bitcoin mining and Software

  development / Research.” (Ex. 5 at 3). Finally, Craig has admitted this to third parties where, e.g.,



  13
    This Second Amended Complaint attaches certain emails with timestamps from Australian time
  zones. For consistency, the Second Amended Complaint has converted various timestamps to
  Eastern Standard Time.
  14
     When confronted with the claims in this lawsuit, Craig didn’t hesitate to continue his fraud
  against W&K and Dave’s estate by perjuring himself in a sworn declaration filed with this Court,
  wherein he now swears, in absolute conflict with his Australian affidavit, that he never had any
  interest in W&K. See Infra, 160-170. It seems that whatever interest he once held in W&K, he
  has disclaimed it.

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  on February 12, 2014, he emailed Dave’s former business partners stating “Dave and I had a

  project in the US. He ran it there . . . The company he ran there mined Bitcoin.” (Ex. 8 at 5).

       75.       Third, in leaked ATO transcripts, Craig’s bookkeeper states that “W&K was an

  entity created for the purpose of mining Bitcoins.” (Ex. 9 at 3).

       76.       Dave and Craig collaborated within W&K to create intellectual property. Craig

  then used W&K and this intellectual property to personally solicit business from the United States

  Department of Homeland Security (“DHS”). (Ex. 4 at 40-43).

       77.       Craig acted as W&K’s “authorized representative,” its “lead researcher,” and its

  “technical contact.” (Id. at 45-46, 50, 56-57, 63-64, 70-71, 76-77, 83-84, 90). Further, Craig

  repeatedly used W&K’s Florida address as his own, e.g., identifying it as his “mailing address.”

  (Id. at 50, 57, 64, 71, 77, 84). Craig has also held himself out as W&K’s “legal agent and

  representative” and its “Director/Australian Agent.” (Ex. 30).

       78.       Craig also claimed to have (i) delivered servers and other computer hardware to

  Florida for W&K’s use (Ex. 10 at 3 (Recital L)); (ii) provided “contract labour services” to W&K

  (Ex. 11 at 2); (iii) licensed software for W&K’s use (Ex. 10 at 3 (Recital M)); and (iv) loaned

  money to W&K for use in its Florida mining operation (Ex. 10 at 3 (Recital L); Ex. 11 at 3).

                       Dave and/or W&K owned a substantial amount of bitcoin

       79.       The exact number of bitcoins belonging to Dave’s estate and/or W&K will be

  determined at trial.15   That said, various documents including emails, “contracts,” spoken

  admissions, and transcripts from 2014 ATO meetings with Craig, his counsel, and his accountant




  15
     Accordingly, some counts contain a request for relief for both Plaintiffs, and it will be for the
  final finder of fact to determine how much each Plaintiff is entitled to recover.
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  evidence Dave and Craig owned and controlled approximately 1,100,111 bitcoins (either together

  personally or through their shared interest in W&K).

        80.       As discussed above, Craig admitted that he “did partner” with Dave in 2009 to

  create/mine “digital money,” i.e., bitcoins. And Craig has also admitted in multiple documents

  that W&K (beneficially owned, at the time, and in some form, by Dave and Craig) mined bitcoin.

  Due to the historically larger mining reward and low competition existing during that time, Craig

  and Dave’s continuous joint bitcoin mining activity since 2009 would have resulted in an

  unparalleled fortune of bitcoins.

        81.       Furthermore, in February 2014, Craig emailed two of Dave’s other business

  partners stating Dave had mined an enormous amount of bitcoins, an amount “far too large to

  email.” (Ex. 8 at 5).

        82.       In addition, a transcript of a February 18, 2014 meeting between the ATO and Craig

  demonstrates that Craig has led others to believe he took ownership of Dave’s bitcoin. The ATO

  investigator states:

                  We thought yes, you’ve picked up some bitcoin ownership from the
                  deceased director so we were trying to, you know, get the picture and
                  connect all the dots. (Ex. 12 at 20) (emphasis added).
        83.       Minutes from a February 26, 2014 meeting between the ATO and Craig’s

  bookkeeper (John Chester), document Craig’s bookkeeper stating that Dave had an incredible

  amount of bitcoin, and implying that Craig assumed ownership of them when he died:

                  Craig Wright had mined a lot of [b]itcoins . . . Craig had gotten
                  approximately 1.1 million [b]itcoins. There was a point in time, when he
                  had . . . around 10% of all the [b]itcoins out there. Mr Kleiman would
                  have had a similar amount. However, Mr Kleiman passed away during
                  that time. (Ex. 9 at 3) (emphasis added).
        84.       At the February 18, 2014 meeting, Craig’s counsel states that W&K’s bitcoins were

  transferred to Seychelles, Singapore, and UK trusts. As Dave owned between 50% to 100% of

                                                  17
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  W&K, at least half of the bitcoins allegedly transferred to the trusts belong to Dave (and/or they

  all belong to W&K):

                 In 2009 the mining of bitcoin commences *** 2011, bitcoin was
                 transferred overseas. R and D then conducted in the US under – by a joint
                 venture company formed as . . . effectively info defence research LOC.
                 Bitcoin mining continues throughout 2011. The bitcoins are derived by
                 companies in Singapore and the Seychelles or entities in Singapore and
                 the Seychelles, and they’re actually trusts. Trustee companies and trusts
                 established - or trustee companies in the United Kingdom and other trusts
                 established in the Seychelles. Further work was planned. In early April
                 2013 unfortunately Dave . . . dies in the US towards the end of April 2013.
                 (Id. at 6).
       85.       Years later, Craig admitted to Andrew O’Hagan that “his and Kleiman’s mining

  activity ha[d] led to a complicated trust.” (Ex. 1 at 36).

       86.       In a 2012 email Craig forwarded to Ira, Craig wrote to Dave reaffirming the joint

  nature of the bitcoin allegedly held in trust (emphasis added):

                 From: Craig Wright [mailto:craig@rcjbr.org]
                 Sent: Wednesday, 10 October 2012 4:55 PM
                 To: Dave Kleiman [mailto:dave@davekleiman.com]
                 Subject: FW: IFIP-WG11.9 CFP

                 We need to discuss the trsut [sic] and work out what the [expletive] we are
                 doing with it all. So, a good tax deductible way to have a visit and also
                 write a paper. (Ex. 31)

       87.       In fact, Craig consistently referred to the “trust” as both Craig and Dave’s, for

  example in another email Craig forwarded to Ira (emphasis added):

                 From: Craig S Wright
                 To: dave@davekleiman.com
                 Subject: This week
                 Date: Tue, 22 May 2012 09:45:31 +1000

                 Dave,
                 A recycled rant . . . the ATO are simply BS’ing again. It costs me money
                 and in a way I guess they want to get a result through attrition rather than
                 honesty. They will drain all I have if they can. We do not touch the trusts.
                 Not yet. Not even for this. ONE DAY, they will change the world. Not
                 millions, not billions. If I am right, they will be trillions and let them try

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                 [expletive] on us then. . . (Ex. 13) (bold emphasis added; profanity
                 redacted).

        88.      In a 2014 email exchange with Ira, Craig admitted that at least 300,000 of the

  1,000,000+ bitcoins allegedly held in trust belong to Dave:

                 From: Ira K <REDACTED@REDACTED>
                 To: Craig S Wright <craig.wright@hotwirepe.com>
                 Subject: Bond villains
                 Date: Sat, Mar 1, 2014 at 2:42 PM

                 Just to clarify on thoughts from previous email... In one of the email
                 exchanges between Dave and you, he mentioned that you had 1 million
                 Bitcoins in the trust and since you said he has 300,000 as his part. I was
                 figuring the other 700,000 is yours. Is that correct?
                 Ira
                  ---
                 From: Craig S Wright <craig.wright@hotwirepe.com>
                 To: Ira K <REDACTED@REDACTED>
                 Subject: Re: Bond villains
                 Date: Sat, Mar 1, 2014 at 3:00 PM

                 Around that. Minus what was needed for the company's use
                 Sent from my HTC. (Ex. 14).

        89.      As discussed below in more detail, Craig provided fraudulent contracts to the ATO

  in an attempt to substantiate his ownership of bitcoins and intellectual property assets that belonged

  to Dave and/or W&K. Their authenticity aside, however, these “contracts” produced by Craig

  constitute his admission that Dave, Craig, and W&K collectively owned hundreds of thousands of

  bitcoins.

        90.      For example, a 2011 contract produced by Craig includes a provision stating W&K

  expected to mine new bitcoin at a rate of 12,000 bitcoins per month for a period of over two years

  (312,000 bitcoin). (Ex.10).




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       91.        Further, a 2012 contract provided to Ira by the ATO lists Bitcoin wallets containing

  over 650,000 bitcoins (the “2012 Deed of Loan”). Next to the list of wallets and total bitcoin held,

  there is a handwritten annotation stating: “as agreed, all wallets to be held in UK in trust until all

  regulatory issues solved and Group Company formed with Dave K and CSW.” (Ex. 15 at 9). This

  annotation is in Craig’s handwriting.

       92.       As can be seen, Dave, in partnership with Craig, lawfully mined and possessed

  hundreds of thousands of bitcoins both in his individual capacity and through W&K.

       93.       The mined bitcoins were stored in wallets in the possession of Dave, Craig, W&K,

  and/or certain trusts. These wallets were not used for any purpose but to store the bitcoins for sale

  at some future date.

       94.       As “partners” from c. 2008-2011, and then in some form of “co-owners/members”

  of W&K from 2011-2013, Dave and Craig shared the private keys to the bitcoins they mined. As

  demonstrated from emails produced by Craig, his ability to control the bitcoins continued once

  they were, allegedly, placed in trust.

  After Dave’s death, Craig fraudulently converted the bitcoin and intellectual property that
                    belonged to, and was possessed by, Dave and/or W&K

       95.       After Dave’s death, Craig took sole ownership/control of all bitcoins and

  intellectual property owned by Dave and/or W&K and those that were held in trust for Dave and/or

  W&K and refuses to return any bitcoins or intellectual property to the estate or W&K.

       96.       It appears that Craig needed to use W&K and Dave’s assets to try and justify certain

  tax positions he claimed in Australia. To that end, he instituted an elaborate scheme to assert

  dominion over Dave’s and W&K’s bitcoin and intellectual property.

       97.       To accomplish this scheme, Craig drafted and backdated at least three contracts,

  and forged Dave’s signature on at least two, to create a fraudulent “paper trail” purporting to show


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    that Dave transferred bitcoins and intellectual property rights that belonged to Dave and W&K, to

    Craig. These fraudulent contracts include:

                         a.    2011 contract titled “Intellectual Property License Funding Agreement”

                  (the “2011 IP Agreement”) (Ex. 10);

                         b.    2012 contract titled “Deed of Loan” (the “2012 Deed of Loan”) (Ex. 15);

                  and

                         c.    2013 contract titled “Contract for the Sale of Shares of a Company Owning

                  Business” (the “2013 W&K Sale Agreement”) (Ex. 5).

            98.         On their face, these contracts are demonstrably fraudulent in a number of manners.

            99.         First, the electronic signatures on these documents are not Dave’s. They are

    substantially different than known examples of Dave’s electronic and written signatures:

              Authentic Signatures                               Signature on Fraudulent Contracts
2/1/201316 & 7/30/200317 & 2/22/2012                      4/22/2011 & 04/2/2013




    16
         See Ex. 16 (signature on Computer Forensics LLC Operating Agreement).
    17
         See Ex. 17 (signature on Dave’s last will and testament).

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          100.    In fact, this signature is a near identical copy of a computer-generated font called

  Otto, available here: https://www.wfonts.com/font/otto. When computer generated, this Otto font

  produces the signature:




          101.    When confronted with this information by Ira, Craig admitted the signatures were

  computer generated, but claimed there were other ways to prove their veracity.

          102.    Craig has never provided additional evidence of their legitimacy.

          103.    Second, the “Purchaser” listed in the 2013 W&K Sale Agreement is “Craig Wright

  R&D” and is further identified by its Australian Business Number (ABN) 97 481 146 384.

  However, the entity associated with this ABN was not identified as “Craig Wright R&D” until

  September 2, 2013 – over three months after Dave died.18

          104.    Third, the terms of the 2011 IP Agreement are nonsensical. While it purports to

  “finance” W&K through the transfer of around 215,000 bitcoin, and requires W&K to “fund the

  software development using bitcoin,” there was essentially nothing that could be purchased with

  bitcoins at that time. Thus, no one could “finance” or “fund” anything with bitcoins then. This

  calls the 2013 W&K Sale Agreement’s purported “release” of this nonsensical “financing

  arrangement” into question.

          105.    Fourth, the 2011 IP Agreement, the 2012 Deed of Loan, and the 2013 W&K Sale

  Agreement conflict with each other. The 2011 IP Agreement provides that Bitcoin wallet

  1933***XY8a would be held by Craig in escrow and revert to Craig only if W&K defaulted, but



  18
       https://abr.business.gov.au/SearchByAbnHistory.aspx?abn=97481146384

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  the 2013 W&K Sale Agreement provides that it will be “released to” Craig despite satisfaction of

  the liability, and the 2012 Deed of Loan shows that same wallet being placed into a trust by Craig

  with a notation that it be held there until Dave and Craig can set up a joint-company later.

       106.      Fifth, the 2013 W&K Sale Agreement references 250,000 bitcoin and then 250,500

  bitcoin as the amount of bitcoin Dave was to transfer to Craig.

       107.      Sixth, the fraudulent signatures aren’t witnessed or notarized. Even the most un-

  sophisticated parties would understand that a contract purporting to release and transfer property

  valued at eight figures should be substantiated in some way with witnesses and/or notaries.

       108.      Lastly, many of the contractual terms are extremely convenient for Craig. For

  example, the 2011 IP Agreement provides for confidentiality even from family members,

  stipulates the value of 215,000 bitcoin at 40,000,000 AUD (when it was really worth around

  ~$250,000), and includes a “typo” showing the date as 2013, and amending it by hand to 2011

  (likely because it was written in 2013).

       109.      These red flags are rendered even more suspicious by the fact that the 2013 W&K

  Sale Agreement was purportedly signed a mere 10 days after Dave left the VA hospital, and no

  more than three weeks before he died.

       110.      Craig has a documented history and habit of backdating contracts and documents

  to suit his needs. During the February 18, 2014 interview with Craig by the ATO, Craig admitted

  that he backdated certain tax invoices. (Ex. 12). Further, Wired has written that Craig likely

  backdated numerous blog posts to further his claim of being Satoshi.19 Finally, in its 2015 audit




  19
       https://www.wired.com/2015/12/new-clues-suggest-satoshi-suspect-craig-wright-may-be-a-
  hoaxer/.

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  of Coin-Exch, the ATO assessed tax liability and penalties against Craig for providing recklessly

  misleading tax information by, inter alia, backdating numerous documents. (Ex. 18).

       111.      As described herein, after Dave died, Craig unlawfully and without permission took

  control of the bitcoins from Dave’s estate and from W&K by exercising exclusive possession over

  the private keys necessary to own, move, or sell the bitcoins belonging to Dave and/or W&K;

  actually using those private keys to move these bitcoins out of their wallets; claiming to own

  bitcoins really owned by W&K and/or Dave by virtue of fraudulent contracts Craig created;

  refusing to return bitcoins that belonged to the estate and W&K; moving them to, or holding these

  bitcoins in, “trusts” known only to him and controlled by him and preventing these assets from

  being returned to the estate and/or W&K; and using those bitcoins (or the “rights” to them) to

  make large trades for his Australian businesses.

       112.      While the exact number of bitcoins stolen remains to be determined, by Craig’s

  admission, Dave’s estate is entitled to the possession of at least 300,000 bitcoins that Craig

  controls in a trust (along with their forked assets). But the estate may be entitled to even more

  bitcoins based on Dave and Craig’s partnership from 2009 until 2011.

       113.      Further, as Craig’s admitted that the mining continued within W&K from 2011,

  W&K is entitled to the possession of all bitcoins mined through its operations since 2011 (along

  with their forked assets).

       114.      To Plaintiffs’ best knowledge, information, and belief, these bitcoins could number

  around ~1,100,111.20 Together, these bitcoins and their forked assets are worth approximately




  20
    Should discovery reveal additional bitcoin were mined, either by Dave individually, or by W&K
  after Dave died, Plaintiffs may amend their Complaint to assert a claim over those bitcoins and
  their forked assets as well.

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  $11,427,755,048.02,    though    at   their   peak   in   December     2017    they   were    worth

  ~$27,332,125,781.68.

       115.      Ira has requested Craig return these bitcoins, but Craig has not done so. In light of

  this refusal, demanding the return of the forked assets would be futile.

       116.      Thus, Craig has wrongfully asserted dominion over Dave and W&K’s bitcoins

  forked assets, and intellectual property in a way that is inconsistent with Dave and W&K’s

  ownership of those bitcoins, forked assets, and intellectual property which has damaged them both.

     Craig attempts to launder the stolen title to W&K’s intellectual property, by securing
    “consent judgments” against W&K, without serving W&K, falsely representing W&K’s
                           consent, and using fraudulent contracts

       117.      In July and August 2013, Craig filed two claims in New South Wales Supreme

  Court against W&K for ~$28 million each. (Ex. 11).

       118.      In both claims, Craig alleged that W&K agreed to pay Craig for property and

  consulting services necessary to “complete research” and that this contract was “bonded against

  the intellectual property of [W&K].” (Ex. 11 at 3, 9). The pleadings alleged that “the contract

  stated that a breach would lead to liquidated damages [and if] the liquidated amount is not paid all

  IP systems returns to the sole ownership of [Craig].” (Id. at 4, 10). The statements of claim allege

  that the intellectual property at issue was the “software and code used in the creation of a Bitcoin

  system” and “used by the US Military, DHS and other associated parties.” (Id.).

       119.      W&K was never served, validly or otherwise, with these proceedings; Dave’s estate

  was not even aware of them until long after the judgments had been entered.

       120.      Craig prevented W&K from participating in these proceedings as, inter alia, he

  filed, in both lawsuits, a false “Acknowledgment of Liquidated Claim” on behalf of W&K where

  he represented that W&K accepted and agreed to his claims. (Ex. 30). In these filings, Craig

  falsely identified himself as the “legal agent and representative for the defendant” and its

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  “Director/Australian Agent” and falsely stated that “I acknowledge the whole of the amount being

  claimed by the plaintiff.” (Id.). Further, he falsely identified his Australian address and email as

  the “Address for service” for W&K. (Id.).

       121.      Craig further prevented W&K from participating in the proceedings, by filing, on

  August 28, 2013, Consent Orders in both cases. (Ex. 19). These filings represent to the Australian

  courts that W&K consented to judgment being entered against it through the signature of its

  “authorised officer,” a “J Wilson.” (Id. at 2). But J Wilson – Craig’s employee – was not

  authorized. Instead, Craig “elected” him a director at a “shareholder meeting” where only Craig

  was present and only Craig voted. (Ex. 4 at 5-6).

       122.      Craig did this even though (i) Craig did not have any direct or voting interest in this

  Florida LLC (only an indirect or beneficial interest), (ii) Dave’s estate (which held at least 50% of

  the interest in the LLC) was not notified of the meeting, and (iii) even if Craig had a 50% voting

  interest in W&K, the election of Wilson was void because the “meeting” lacked a quorum.

       123.      In April 2014, Ira first learned of these court proceedings, when the ATO sent him

  some of the court documents. Ira confronted Craig for taking Dave and W&K’s assets and

  concealing the court proceedings from Dave’s estate. Craig admitted his subterfuge, but defended

  himself by claiming the ends justified the means:

                 Ira: “. . . From [the] documents [I have] it appears clear to see a systematic
                 transfer of assets out of W&K back to you . . . But you never mentioned
                 any of the actions you were taking against W&K prior to contacting us.”

                 Craig: “Dave died. I did the actions to make sure that the court signed off
                 on what Dave and I planned.” (Ex. 20 at 18).

       124.      Importantly, these Australian claims, like the sworn testimony he submitted to this

  Court, are based on demonstrably false factual allegations. Specifically:




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       125.     The July 2013 claim alleges the existence of an October 27, 2008 contract between

  Craig and W&K, claiming that “[W&K] agreed to pay [Craig] for property and consulting

  services.” (Id. at 2). However, W&K did not exist in 2008.

       126.     Also, the July 2013 claim alleges:

                “[Craig] conducted four projects associated with the DHS (Dept. of Homeland

                Security USA) with [W&K] under contract:

                    a. BAA 11-02-TTA 01-0127-WP TTA 01 - Software Assurance: Software

                       Assurance through Economic Measures

                    b. BAS 11-02-TTA 05-0155-WP TTA 05 - Secure Resilient Systems and

                       Networks

                    c. BAA 11-02-TTA 09-0049-WP TTA 09 - Cyber Economics

                    d. BAA 11-02-TTA 14-0025-WP TTA 14 - Software Assurance MarketPlace

                       (SWAMP).” (Id. at 9-10).

       127.     The July 2013 claim goes on to state that “these funds were rated as:

                    a. TTA 01         US$ 650,000

                    b. TTA 05         US$ 1,8000,000 (sic)

                    c. TTA 09         US$ 2,200,000

                    d. TTA 14         US$ 1,200,000.” (Id. at 10).

       128.     However, these statements were false. The results of Freedom of Information Act

  requests by Ira to the DHS reveals that W&K’s applications for TTA 01, TTA 05, TTA 09, and

  TTA 14 were all denied by the DHS. (Ex. 21).

       129.     The August 2013 claim also contains a demonstrably false allegation, alleging the

  existence of a January 8, 2009 contract between Craig and W&K, claiming that “[W&K] agreed



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  to pay [Craig] for property and consulting services.” (Ex. 11 at 2). But again, W&K did not exist

  until 2011.

       130.      On November 6, 2013, judgments appear to have been entered for both Australian

  claims. (Ex. 22). Craig’s fraud to keep W&K and Dave’s estate out of the litigation was successful

  as, in the judgment, the Court “note[d] the agreement of the parties that [Craig] will accept the

  transfer of the intellectual property held by the plaintiff in full and final satisfaction of the

  judgment.” (Id.) (emphasis added).

       131.      To this day, Craig has used these fraudulently obtained judgments to assert

  ownership over the intellectual property assets developed by W&K and Dave. For example, in the

  February 18, 2014 meeting with the ATO, Craig’s attorney represented to the ATO that

  “intellectual property that had been acquired by Dr Wright from WK Info Defence is on-supplied

  to the Wright Family Trust and then broken up and transferred to other group entities, Hotwire,

  Coin Exchange . . . and so on.” (Ex. 12 at 7). And later again stating: “Remember there’s the IP

  coming out of WK Info Defence in the US came to Craig through Craig to the Wright Family Trust

  and then from the Wright Family Trust into Hotwire . . .” (Id. at 18). Further, as discussed in para

  142-143, the ATO has provided Ira with “deeds” drafted and executed by Craig which show that

  his companies have taken ownership over the intellectual property created by W&K and

  “transferred” by virtue of these fraudulently obtained “judgments.”

  Craig reaches out to Ira to cover up his fraud, deceive Ira into believing him, and secure an
                                ally in his fight against the ATO

       132.      With the ATO closely auditing Craig’s activities, Craig knew he had to reveal some

  of his and Dave’s bitcoin mining and blockchain work to justify various tax positions he took in

  Australia. Realizing this would lead the ATO to contact the Kleimans, Craig reached out first.




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       133.      Nearly ten months after Dave’s death, on February 11, 2014, Craig reached out to

  Dave and Ira’s 94 year old father Louis, and wrote:

                 Date: Feb. 11, 2014
                 From: Craig Wright <Craig.Wright@hotwirepe.com>
                 To: Louis <REDACTED@REDACTED>

                 Hello Louis,
                 Your son Dave and I are two of the three key people behind Bitcoin . . .
                 If you have any of Dave’s computer systems, you need to save a file named
                 “wallet.dat”. I will explain what this is later. Please understand, I do not
                 seek anything other than to give you information about your son.
                 Know also that Dave was a key part of an invention that will revolutionise
                 the world . . .
                 I will talk to you again soon.
                 When I can, I will let you know much more of Dave. I will also help you
                 recover what Dave owned.
                 I will let you know when I am in the USA. (Ex. 23).


       134.      As Louis Kleiman was elderly, Ira took over the correspondence with Craig.

       135.      Craig told Ira he was partners with Dave and that no one knew about their

  collaboration or W&K. He explained to Ira that W&K was involved in Bitcoin mining and that it

  was quite successful.

       136.      Shortly after informing Ira about W&K, Craig told Ira that Craig and Dave were

  planning on starting a new company together called “Coin-Exch.” He explained to Ira that Dave’s

  estate would receive shares in it worth millions.

       137.      On April 23, 2014, Craig wrote to Ira:

                 Date: April 23, 2014 8:56pm
                 From: Craig <craig@rcjbr.org>
                 To: Ira <REDACTED@REDACTED.com>




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                 The software Dave updated, and which I have transferred back in OUR
                 company, and it is OURs as you are Dave’s heir, was done at a zero tax
                 level. This is all good under the law. Basically the GST (like a Vat)
                 cancels as it is an international transfer
                 What company owns right now is:
                 ● Software – incl source code and perpetual licenses valued at over $50
                   million.
                 ● Intellectual Property, design, codes etc
                 ● Research claims. (Ex. 24).
       138.      At the same time Craig was defrauding the Kleimans, Craig also reached into

  Florida though an agent, Uyen Nguyen, to revive W&K after it had been administratively dissolved

  – to ensure he had control over it if necessary.

       139.      Consequently, on March 28, 2014, nearly a year after Dave died, W&K was

  reinstated by Craig’s agent, Uyen Nguyen (“Uyen”). (Ex. 25). Uyen removed Dave as the

  registered agent for W&K and listed herself. (Id.). She then added herself as manager and

  secretary and an entity named Coin-Exch Pty Ltd as director. (Id.; ECF 12 at 11 n3). But Coin-

  Exch Pty Ltd was merely Craig seizing control of W&K from the shadows, as it’s well established

  “Craig Wright” was the “director and controlling mind” of Coin-Exch Pty Ltd. (Ex. 18 at 5).21

       140.      Of course, despite Ira and Craig being in regular email contact at the time, Craig

  concealed this action from Ira.

  The ATO reached out to Ira to verify Craig’s allegations over W&K, and provided Ira with
      documents that demonstrate Craig assumed control over intellectual property that
                              belonged to W&K and/or Dave

       141.      As Craig expected, on April 15, 2014, an auditor from the ATO, reached out to Ira

  to inquire about his knowledge concerning the legal action Craig took against W&K. The auditor

  provided Ira copies of the 2011 IP Agreement and the 2013 W&K Sale Agreement.


  21
    https://www.arnnet.com.au/article/621503/australian-bitcoin-figure-supercomputing-company-
  enters-liquidation/.

                                                     30
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           142.   The ATO also provided Ira with three deeds, each titled “IP Deed of Assignment”

  and each executed on September 15, 2013 – nearly four months after Dave’s death. (Ex. 26; Ex.

  27; & Ex. 28). Each of these IP Deeds of Assignments assigned various intellectual property rights

  from DeMorgan Ltd to three entities: Coin-Exch Pty Ltd (Ex. 26), Hotwire Preemptive Intelligence

  Pty Ltd (Ex. 27), and Cloudcroft Pty Ltd (Ex. 28).

           143.   The deeds also described the source and nature of this IP: “The IP held in total by

  DeMorgan consists of source code, algorithms and patentable materials that have been obtained

  by Craig Wright R&D (ABD 97 481 146 384) through the following unrelated entities . . . W&K

  Information Defense Research LLC [as two batches).” (Ex. 26 at 4; Ex. 27 at 4; & Ex. 28 at 4).

   Craig continues to assure Ira and reveals the nature of the intellectual property owned by,
                          and misappropriated from, W&K and Dave

           144.   On April 22, 2014, Ira wrote to Craig that after he had time to review the documents

  sent by the ATO, he “felt like there [were] questionable discrepancies in the contracts between you

  and W&K such as Dave’s signatures, his resignation, transfer of all accountable value . . . .” (Ex.

  24 at 20).

           145.   To keep Ira from going public, Craig promised Ira that he could be paid out of what

  was owed to Dave’s estate “based on what Dave and I had been arranging.” (Id. at 12). On April

  23, 2014, Craig told Ira that he would receive the first $12 million payment in October 2014. (Id.

  at 8).

           146.   On the same day, trying to further placate Ira, and further evidencing Dave and the

  estate’s claim to W&K’s transferred intellectual property, Craig wrote Ira stating:

                  The software Dave updated and which I have transferred back in OUR
                  company, and it is OURs as you are Dave’s heir, was done at a zero tax
                  level . . . Dave took the 2 million lines of code that had in 2010 and
                  transformed these into a documented set of over 6 million lines of code.
                  (Id. at 2).


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       147.      On April 25, 2014, still trying to reassure Ira, Craig sent Ira a chronology of his

  activities related to W&K and the development of its intellectual property. In this document, Craig

  wrote:

                  There is a lot of IP and ‘stuff’ in the mix. All up, it’s around a hundred
                  million dollars’ worth. This IP originates in work CSW has been doing
                  for more than 10 years; it originates in things that came from W&K; it
                  has to do with the software acquired. The values and distribution . . .
                  amounts to a third each for Cloudcroft, Hotwire, and Coin exch.
                  Cloudcroft gets the security related IP, Coin-Exch gets the banking and
                  Hotwire gets all of the automation R&D based stuff. (Ex. 7).

       148.      The nature of this intellectual property transferred from W&K to DeMorgan, Coin-

  Exch, Hotwire Preemptive Intelligence, and Cloudcroft was further explained by Craig in a letter

  he published on DeMorgan’s website in 2015. This letter demonstrates that Coin-Exch, Hotwire

  Preemptive Intelligence, and Cloudcroft were involved in building out W&K’s intellectual

  property with R&D efforts targeted at “the development of smart contract and Blockchain based

  technologies” and “commercialisation of our Blockchain and smart contract systems research.”22

       149.      Craig’s promise of a multi-million dollar payment by October 2014, never came

  true. Craig blamed the delay on the ATO investigation and kept promising Ira he would see value

  when the investigation closed.

       150.      On October 9, 2015, Craig essentially stopped responding to Ira.

       151.      In November 2015, Dave’s friend and business partner, Patrick Paige reached out

  to Craig when a reporter called him inquiring about Craig and Dave’s involvement in Bitcoin.

  Craig responded:



  22
    http://www.businessinsider.com/craig-steven-wright-rumoured-bitcoin-creator-was-
  commercialising-blockchain-research-and-reviving-company-hotwire-2015-12;
  https://prwire.com.au/pr/51565/the-demorgan-ltd-group-of-companies-to-receive-up-to-54-
  million-from-ausindustry-r-amp-d-tax-rebate-scheme-1.

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                 Thanks for the heads up. Reporters are always troubling. They ignored
                 the stuff Dave and I did when he was alive. I don’t know what has started
                 to interest them now . . . as you know[, Dave] did a fair amount of
                 research with me. Most yet to be completed and published. (Ex. 8 at
                 13 (emphasis added)).

       152.      After Craig yet again confirmed Dave’s involvement in Bitcoin and the intellectual

  property they developed, Patrick wrote back:

                  . . . I think we both know Dave was a genius when it came to computers
                 and I sure would like Dave to get recognition for his part if any in the
                 development of bitcoins. I realize there is a lot of things to consider
                 releasing this information but my question is when? (Id. at 12).

       153.      Craig responded: “When it all comes out, there is no way Dave will be left out.

  We need at least a year more.” (Id. (emphasis added)).

                      Craig claims that he and Dave are Satoshi Nakamoto

       154.      On December 8, 2015, two popular tech publications, Wired and Gizmodo, outed

  Craig as Satoshi.23 Both articles also articulated Dave’s integral role in the development of

  Bitcoin. They described numerous details and leaked communications implicating Dave and

  Craig’s roles in creating and developing Bitcoin; they also discussed Dave and Craig’s

  accumulation of a vast hoard of bitcoin.

       155.      On May 2, 2016, nearly five months after the Wired and Gizmodo publications,

  Craig published a blog post in which he claimed to be Satoshi.24

       156.      Craig has readily admitted Dave was intimately involved in the creation of Bitcoin.

  In numerous interviews with Andrew O’Hagan, documented in The Satoshi Affair, Craig told



  23
    https://www.wired.com/2015/12/bitcoins-creator-satoshi-nakamoto-is-probably-this-unknown-
  australian-genius/; https://gizmodo.com/this-australian-says-he-and-his-dead-friend-invented-bi-
  1746958692.
  24
     https://qz.com/674129/an-australian-nobody-claims-to-be-the-inventor-of-bitcoin-but-no-one-
  knows-for-sure/.

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  O’Hagan that “[Craig] did the coding and that Kleiman helped him to write the white paper.” (Ex.

  1 at 31).

          157.     Further, in numerous emails to Ira, Craig admitted the same.

          158.     Craig currently serves as Chief Scientist of a UK company called nChain in

  London, where, in 2016, he filed dozens of patents related to Bitcoin and blockchain technology

  through this entity.25 The public filing of these patents disclosed to the public intellectual property

  belonging to Dave and W&K without the permission of Dave’s estate and/or W&K.

          159.     To date, neither Dave’s estate nor W&K have received the assets belonging to them

  as a result of their early involvement in Bitcoin and bitcoin mining.

                                         Fraud on this Court26

          160.     In Ira’s initial Complaint, as in this one, he alleged that (i) Craig and Dave held

  some form of interests in a Florida LLC called W&K, that (ii) through this LLC, and otherwise,

  they mined over 1.1 million bitcoins and developed extremely valuable intellectual property, that

  (iii) after Dave died, Craig took unlawful possession of all the bitcoins the Florida LLC mined and

  intellectual property it created (along with the bitcoin and intellectual property they

  mined/developed together personally), that (iv) Craig then tried to “launder” this stolen intellectual

  property by defrauding the Australian courts into entering consent orders transferring clean title

  over W&K’s intellectual property to Craig; and that (v) Craig needs to return the stolen property.

          161.     In response to this Complaint, Craig filed a motion to dismiss alleging he has

  essentially no connection to Florida or W&K.           His motion stated Plaintiff’s jurisdictional



  25
      https://www.reuters.com/article/us-bitcoin-wright-fund-exclusive/exclusive-company-behind-
  bitcoin-creator-sold-to-private-investors-idUSKBN17F26V.
  26
       The emphases appearing in this section have been added.


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  allegations were “frivolous” and “sanctionable.” (ECF D.E. 12 at 36). Craig supported these

  assertions with a sworn declaration stating he was never a shareholder, member, agent, employee,

  or representative of W&K. (Ex. 29 ¶¶ 11-12). He swore, under penalty of perjury under the laws

  of the United States, that he’s never exercised authority or control over W&K. (Id. ¶ 13).

         162.     He perjured himself.

         163.     To procure his fraudulent Australian judgments, Craig submitted an affidavit to the

  Supreme Court of New South Wales where Craig affirmed that:

                         “The shareholding of ‘W&K Info Defense LLC’ was:

                         1. Craig S Wright                   50.0%
                         2. David A Kleiman            50.0%”
  (Ex. 4 at 5).

         164.     Craig then doubled down on this ownership structure affirming further that “W&K

  Info Defense LLC was an incorporated partnership. All shares are held jointly.” (Id.). He then

  affirmed that he called a “shareholders meeting” on August 16, 2013 at which only he and Jamie

  Wilson were present. (Id.). Craig affirmed he was the sole vote that nominated Jamie Wilson to

  act as a director “for purposes of consenting to orders and the company to be wound down.” (Id.

  at 5).27

         165.     These affidavit statements directly contradict his sworn statements to this Court

  that (i) “I have never been a . . . shareholder . . . of W&K,” (ii) “I have never been a member of

  W&K,” and (iii) “I have never exercised authority or control over W&K . . .” (Ex. 29 ¶¶ 11-

  13).

         166.     But the perjury doesn’t end there.


  27
    Under Florida law, there is no such thing as an “incorporated partnership” and an LLC does not
  have “shares” or “directors” or hold shareholders’ meetings. The “owners” of an LLC are called
  “members.”

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        167.     Craig attached voluminous records to his Australian affidavit. These attachments

  evidence Craig signed as the “authorized representative” of W&K six (6) times (Ex. 4 at 56, 63,

  70, 76, 83, 90), identified himself as W&K’s “lead researcher” twice (id. at 45-46), its “technical

  contact” six (6) times (id. 50, 57, 64, 71, 77, 84), affiliates himself with W&K’s Florida address

  as, e.g., his “mailing address” twelve (12) times (id. at 49, 56-57, 63-64, 70-71, 76-77, 83-84,

  90), includes detailed descriptions of the computer programs and research Craig was attempting

  to get DHS to fund (id. at 50-94), and includes four (4) emails from DHS confirming Craig had

  uploaded various proposals on behalf of W&K attempting to secure funding (Id. at 40-43).

  Collectively, these documents clearly evidence Craig’s participation in operating W&K from

  Florida to solicit business from the United States DHS.

        168.     Obviously, these affidavit attachments are in direct conflict with Craig’s sworn

  statements to this Court that (i) “I have never been a . . . employee, or representative of W&K,”

  (ii) “I have never been an agent of W&K,” (iii) “I have never . . . developed software for any

  purpose relating to a Florida business, including W&K,” (iv) “I have never advertised services

  in Florida,” (v) “I have never had an office in Florida,” and (vi) “I have never exercised

  authority or control over W&K . . .” (Ex. 29 ¶¶ 6, 8, 11-13, 15).

        169.     As mentioned in ¶ 120, Craig also submitted two “Acknowledgment of Liquidated

  Claim” filings in Australia where he signed as the “legal agent and representative” of W&K and

  as its “Director/ Australian Agent.” (Ex. 30). As set forth in ¶¶ 138-139 he also acted as the

  “director” of W&K when he had his agent put Coin-Exch, his company, as its director. These

  also directly conflict with his sworn testimony above.

        170.     Craig’s boldfaced misrepresentations and perjury before this Court constitute a

  continuation of his grand fraud to unlawfully take Plaintiffs’ assets. Said differently, Craig’s latest



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  fraud on this Florida Court is simply one more action he’s taken in Florida to defraud Dave’s estate

  and W&K.

                                       CLAIMS FOR RELIEF

                                              COUNT I
                                             Conversion
                                  (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

       171.       On or about April 2013 through the present day, Defendant converted to his own

  use, bitcoins, forked assets, and intellectual properties that was then the property of, and owned

  by, the estate and/or W&K.

       172.       The property was worth between ~$201,728,340.04 and $27,332,125,781.68

  during the time Defendant has had possession over it.

            WHEREFORE, Plaintiffs demand judgment against Defendant for damages in the amount

  of at least $11,427,755,048.02 and/or return of the wrongfully converted bitcoins with their forked

  assets. Plaintiffs demands the return of the IP, or its fair market value. Plaintiffs also demand

  punitive damages, together with court costs, interest, and any other relief this Court deems just and

  proper.

                                             COUNT II
                                         Unjust Enrichment
                                  (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

       173.       Plaintiffs have conferred a benefit on the Defendant, who has knowledge thereof.

       174.       Defendant voluntarily accepted and retained the benefit conferred.

       175.       The circumstances render Defendant’s retention of the benefit inequitable unless

  the Defendant pays to Plaintiffs the value of the benefit.

       176.       Defendant has been unjustly enriched at Plaintiffs’ expense.

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        177.     Plaintiffs are entitled to damages as a result of Defendant’s unjust enrichment,

  including disgorgement of all monies and or properties unlawfully accepted and retained by

  Defendant from Plaintiffs.

         WHEREFORE, Plaintiffs demand judgment against Defendant for the return of the

  wrongfully retained property or monetary damages equaling to the value thereof, together with

  court costs, interest, and any other relief this Court deems just and proper.

                                             COUNT III
                                          Misappropriation
                                  (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

        178.     After Dave’s death, Craig unlawfully, willfully, and maliciously misappropriated

  trade secrets belonging to Dave and/or W&K relating to blockchain based technologies and smart

  contracts by using them for himself and using a series of fraudulent contracts, misrepresentations,

  and fraudulently obtained court judgments to transfer/acquire the property rights in these trade

  secrets to/for himself.

        179.     These trade secrets are generally described as programs, methods, techniques, and

  processes relating to blockchain based technologies and smart contracts. These trade secrets can

  be identified specifically as the software Dave developed personally and through W&K, i.e., those

  Craig attempted to have transferred through the fraudulent Australian judgments, which he then

  on-supplied to himself, the Wright Family Trust, DeMorgan and its subsidiaries.

        180.     These trade secrets derived actual and potential independent economic value from

  not being generally known to the public or to other persons who could obtain economic value from

  their disclosure or use. As evidence of the substantial economic value relating to these trade




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  secrets, Craig has used these trade secrets to develop new intellectual property and assets, some of

  which have resulted in the filing of new patents, through his work at nChain.

        181.       Dave and W&K possessed secret information and made reasonable efforts to

  maintain the secrecy of these trade secrets. Dave made no disclosures of these trade secrets to

  anyone but Craig.

        182.       As a proximate result of Craig’s unlawful misappropriation, Dave’s estate and/or

  W&K have suffered actual losses consisting of the loss in economic value associated with the trade

  secrets.

        183.       As a proximate result of Craig’s unlawful misappropriation, Dave’s estate and

  W&K are informed and believe that Craig has been unjustly enriched.

        184.       As a proximate result of Craig’s unlawful and willful misappropriation, Dave’s

  estate is entitled to a recovery of damages pursuant to Fla. Stat. § 688.004.

             WHEREFORE, Plaintiffs demand judgment against Defendant for all available damages

  caused by Craig’s misappropriation, including exemplary damages, together with court costs,

  interest, attorney’s fees pursuant to Fla. Stat. 688.005, and any other relief this Court deems just

  and proper.

                                             COUNT IV
                                Federal Defense of Trade Secrets Act
                                  (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

        185.       Craig’s conduct described in this Second Amended Complaint constitutes

  misappropriation of trade secrets under the Defend Trade Secrets Act. 18 U.S.C. §§ 1832.

        186.       These trade secrets are generally described as programs, methods, techniques, and

  processes relating to blockchain based technologies and smart contracts which is a product used


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  and intended to be used in interstate and foreign commerce. These trade secrets can be identified

  specifically as the software Dave developed personally and through W&K, i.e., those Craig

  attempted to have transferred through the fraudulent Australian judgments, which he then on-

  supplied to himself, the Wright Family Trust, DeMorgan and its subsidiaries.

       187.      These trade secrets derived actual and potential independent economic value from

  not being generally known to the public or to other persons who could obtain economic value from

  its disclosure or use. As evidence of the substantial economic value relating to these trade secrets,

  Craig has used these trade secrets to develop new intellectual property and assets, some of which

  have resulted in the filing of new patents, through his work at nChain.

       188.      Craig caused many of these patents to be filed after May 11, 2016.

       189.      Dave and W&K possessed secret information and made reasonable efforts to

  maintain the secrecy of these trade secrets. Dave made no disclosures of these trade secrets to

  anyone but Craig.

       190.      As a proximate result of Craig’s unlawful misappropriation, Dave’s estate has

  suffered actual losses consisting of the loss in economic value associated with the trade secrets.

       191.      As a proximate result of Craig’s unlawful misappropriation, Dave’s estate is

  informed and believes that Craig has been unjustly enriched.

         WHEREFORE, Plaintiffs demand judgment against Defendant for the value of the

  wrongfully taken intellectual property, together with court costs, interest, attorney’s fees, and any

  other relief this Court deems just and proper.




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                                               COUNT V
                                       Breach of Fiduciary Duty
                                    (Asserted by the Estate and W&K)

  Plaintiff incorporates paragraphs 1 to 170, and 178-191.

        192.        Although Craig did not have a direct ownership interest in W&K, he owed fiduciary

  duties to the LLC, as, inter alia, its agent, its purported “authorized representative,” “lead

  researcher,” “technical contact,” “legal agent and representative” and “Director/Australian Agent.”

  Although lacking any authority to do so, upon Dave’s death Craig assumed de facto control and

  management of W&K and thereby incurred fiduciary duties to act in the LLC’s, and its member’s,

  best interests.

        193.        In the alternative, just as the shareholders of a closely held corporation have

  partnership-like fiduciary duties to each other, Craig and Dave acted as partners in the management

  and operation of W&K, and thus Craig owed fiduciary duties of care, loyalty, and good faith to

  Dave, his estate, and W&K, by virtue of their joint venture.

        194.        In the alternative, if Craig was an actual member in W&K Info Defense LLC, Craig

   owed fiduciary duties of care, loyalty, and good faith to W&K, Dave, and his estate pursuant to

   Fla. Stat. § 605.04091.

        195.        Craig breached his fiduciary duty of loyalty and good faith, by, among other things,

   intentionally and wrongly transferring assets that belonged to Dave’s estate and/or W&K to

   himself and/or companies controlled by him.

        196.        Dave’s estate and or W&K have been damaged by Craig’s breach of his fiduciary

  duties.

            WHEREFORE, Plaintiffs demand judgment against Defendant for damages and/or return

  of the wrongfully taken bitcoins, forked assets, and intellectual property, together with court costs,

  interest, and any other relief this Court deems just and proper.

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                                            COUNT VI
                          Breach of Partnership Duties of Loyalty and Care
                                       (Asserted by the Estate)

  Plaintiff incorporates paragraphs 1 to 170, and 178-191.

         197.      From c. 2008 until at least the creation of W&K in 2011, Craig and Dave associated

  to carry on as co-owners of a business for profit to create Bitcoin, mine bitcoins, and create other

  block chain intellectual property. Pursuant to Fla. Stat. § 620.8202, and Craig’s admission of same,

  this formed a partnership.

         198.      Pursuant to Fla. Stat. § 620.8404(2), Craig owed Dave a duty of loyalty to, inter

  alia, “account to the partnership and hold as trustee for the partnership any property, profit, or

  benefit derived by the partner in the conduct and winding up of the partnership business or derived

  from a use by the partner of partnership property, including the appropriation of a partnership

  opportunity.

         199.      Pursuant to Fla. Stat. § 620.8404(3), Craig owed Dave a duty of care to refrain from

  engaging in intentional misconduct, or a knowing violation of law.

         200.      Craig breached these duties of loyalty and care by, inter alia, stealing Dave’s

  bitcoins and any intellectual property Dave owned and or designed during the c. 2008-2011

  timeframe (or any other time they partnered).

         201.      Pursuant to Fla. Stat. §§ 620.8405, Dave’s estate brings this action for breach of the

  duties of loyalty and care owed under Fla. Stat. § 620.8404, including but not limited to its rights

  pursuant to Fla. Stat. §§ 620.8401, 620.8403, 620.8807, its right to have its partnership interest

  purchased pursuant to § 620.8701, and to otherwise enforce the rights and protect the interests of

  Dave’s estate.




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          WHEREFORE, Plaintiff demands judgment against Defendant for damages, and purchase

  of his partnership interest together with court costs, interest, and any other relief this Court deems

  just and proper.

                                              COUNT VII
                                                 Fraud
                                   (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

          202.    As detailed above, Defendant made knowing false statements of fact, intentional

  omissions of material facts, and falsely promised future action with no intention of performing

  and/or specifically intending not to perform. These included, but are not limited to: that Dave and

  W&K’s bitcoins and intellectual property rights were transferred, sold, and/or returned to Craig

  pursuant to valid contracts; that Dave signed those contracts; that the estate would be able to sell

  its shares in Coin-Exch, that he would help the estate recover what Dave owned; that the estate

  could participate in Coin-Exch, that Craig did not have any of Dave’s or W&K’s bitcoins, and the

  fraudulent declaration submitted to this Court; and Craig’s omissions that he was pursuing

  judgments and lawsuits against W&K in Australia and that he had assumed control over W&K, its

  assets, and the estate’s assets as well.

          203.    Defendant took these actions/omissions with the purpose of inducing Plaintiffs to

  rely on these fraudulent acts and omissions.

          204.    Plaintiffs acted in reliance on Defendant’s fraudulent representations and

  omissions. This reliance included, but was not limited to, not challenging Craig’s legal claims in

  Australia, expending time and resources reviewing fraudulent documents, delaying uncovering

  Craig’s fraud and bringing this lawsuit, and not securing the bitcoins and intellectual property they

  owned and/or controlled.



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         205.      As a direct and proximate result of their reliance, Plaintiffs were damaged and

  injured. This includes, but is not limited to, the continued conversion and misappropriation of their

  bitcoins, forked assets, trade secrets, and intellectual property; by the expenditure of resources

  interacting with the ATO and investigating Craig’s fraud; by the entry of the Australian court

  judgements entered against W&K; by the inability to pursue business opportunities due to the lack

  of access to the aforementioned assets.

         WHEREFORE, Plaintiffs demand judgment against Defendant for actual, nominal,

  consequential, special, and punitive damages in an amount to be determined at trial, together with

  court costs, interest, and any other relief this Court deems just and proper.

                                             COUNT VIII
                                          Constructive Fraud
                                   (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170, and 192-205.

         206.      As detailed above, a fiduciary relationship existed between Craig and W&K and

  Craig and Ira.

         207.      Craig invited W&K and Ira’s utmost trust and loyalty as their fiduciary.

         208.      Plaintiffs reposed the utmost trust and loyalty in Craig.

         209.      Craig intentionally violated Plaintiffs trust and confidence, took unconscionable

  advantage of Plaintiffs, abused and took improper advantage of their confidential and fiduciary

  relationship, and materially breached his fiduciary duties to them both by knowingly making false

  statements of fact, intentional omissions of material facts, remaining silent in light of a duty to

  speak, falsely promising future action with no intention of performing and/or specifically intending

  not to perform, and by engaging in unfair methods against them. These fraudulent

  representations/omissions included, but are not limited to: that Dave and W&K’s bitcoins and

  intellectual property rights were transferred, sold, and/or returned to Craig pursuant to valid

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  contracts; that Dave signed those contracts; that the estate would be able to sell its shares in Coin-

  Exch, that he would help the estate recover what Dave owned; that the estate could participate in

  Coin-Exch, that Craig did not have any of Dave’s or W&K’s bitcoins, and the fraudulent

  declaration submitted to this Court; and Craig’s omissions that he was pursuing judgments and

  lawsuits against W&K in Australia and that he had assumed control over W&K, its assets, and the

  estate’s assets as well.

          210.    As detailed above, at the time Craig made those false statements and material

  omissions, and concealed his misconduct, a fiduciary relationship existed between Craig and Ira,

  and Craig and W&K, as Craig owed fiduciary duties and duties of care and loyalty to the estate

  and W&K. Craig induced Ira’s reliance and Craig took an improper/unconscionable/unfair

  advantage of, and abused, the fiduciary and confidential relationship at Ira and W&K’s expense.

  Craig’s misrepresentations and omissions were intentional, for the specific purpose of defrauding

  the estate and W&K of their property, but in any event, regardless of intent, Craig is liable for

  constructive fraud.

          211.    Plaintiffs acted in reliance on Defendants fraudulent and unfair representations and

  omissions. This reliance included, but was not limited to, not challenging Craig’s legal claims in

  Australia, expending time and resources reviewing fraudulent documents, delaying uncovering

  Craig’s fraud and bringing this lawsuit, and not securing the bitcoins and intellectual property they

  owned and/or controlled.

          212.    As a direct and proximate result of their reliance, Plaintiffs were damaged and

  injured. This includes, but is not limited to, the continued conversion and misappropriation of their

  bitcoins, forked assets, trade secrets, and intellectual property; by the expenditure of resources

  interacting with the ATO and investigating Craig’s fraud; by the entry of the Australian court



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  judgements entered against W&K; by the inability to pursue business opportunities due to the lack

  of access to the aforementioned assets.

         WHEREFORE, Plaintiffs demand judgment against Defendant for actual, nominal,

  consequential, special, and punitive damages in an amount to be determined at trial, together with

  court costs, interest, and any other relief this Court deems just and proper.

                                             COUNT IX
                                       Permanent Injunction
                                  (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

         213.      Craig’s unlawful taking of the bitcoins and intellectual property belonging to

  Plaintiffs has resulted in great and irreparable injury to them both as they have been deprived of

  unique, limited, and valuable digital assets.

         214.      Neither Plaintiff can be fully compensated in damages and is without adequate

  remedy at law.

         WHEREFORE, Plaintiffs request this Court enter an injunction ordering Defendant to

  return all bitcoins, forked assets, and intellectual property unlawfully taken from Plaintiffs.

                                             COUNT X
                                   Civil Theft - § 772.11 Fla. Stat.,
                                  (Asserted by the Estate and W&K)

  Plaintiffs incorporate paragraphs 1 to 170.

       215.        On or about April 2013 through the present day, Defendant knowingly and

  wrongfully took, with felonious criminal intent, bitcoins, forked assets, and intellectual properties

  that were then the property of, and owned by, the estate and/or W&K.




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        216.        Defendant took these with the intent to deprive Plaintiffs of the right to these

  properties and to appropriate the properties to his own use and the use of others not entitled to use

  the properties.

        217.        Defendant also trafficked in, and endeavored to traffic in, properties that he knew

  were stolen and properties that he initiated, organized, planned, financed, directed, managed, and

  supervised, the theft of.

        218.        The properties were worth between ~$201,728,340.04 and $27,332,125,781.68

  during the time Defendant has had possession over them.

        219.        The actions taken by Defendant were done intentionally and maliciously as part of

  a scheme designed to defraud Plaintiffs of their assets.

        220.        On June 19, 2018, pursuant to § 772.11 Fla. Stat., counsel for Plaintiffs sent the

  demand required by Florida Law required to initiate a claim for civil theft. (Ex. 33.)

        221.        Defendant has not complied with that demand.

        222.        Plaintiffs have been damaged as a result of Defendants actions.

        223.        Plaintiffs have retained the undersigned to represent them in this action and in so

  doing have incurred an obligation for the payment of attorney’s fees and costs.

         WHEREFORE, Plaintiffs demand judgment against Defendant awarding damages,

  including treble damages and attorney’s fees pursuant to § 772.11 Fla. Stat. as well as ordering

  Defendant to divest himself of relevant enterprise(s), as well as granting such other relief as the

  Court deems just, equitable and proper.




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                Plaintiffs demand a trial by jury for all issues triable by right.

  Dated: January 14, 2019

                                             Respectfully submitted,

                                             BOIES SCHILLER FLEXNER LLP

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 14, 2019, a true and correct copy of the foregoing

  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                  /s/ Velvel (Devin) Freedman
                                                  Velvel (Devin) Freedman




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